19-22576-rdd   Doc 1   Filed 03/06/19    Entered 03/06/19 17:34:43   Main Document
                                        Pg 1 of 53




      44 GRAPHICS LLC
      272 Dunns Mill Rd Ste 144
      Bordentown, NJ 08505-4748


      55 Corp
      610 Monroe Ave
      Memphis, TN 38103-3214


      A DUIE PYLE INC
      PO Box 564
      West Chester, PA       19381-0564


      AAA WELDING SERVICE, INC.
      811 E Cayuga St
      Philadelphia, PA 19124-3815


      ACME HEAT TREATING CO.
      4626 Hedge St
      Philadelphia, PA 19124-3320


      ACTEON NETWORKS LLC
      165 Indiana Ave
      Fort Washington, PA        19034-3307


      ADAM METAL PRODUCTS
      PO Box 450
      Ledgewood, NJ 07852-0450
19-22576-rdd   Doc 1   Filed 03/06/19    Entered 03/06/19 17:34:43   Main Document
                                        Pg 2 of 53




      Addy Source LLC
      2361 Nostrand Ave Ste 501
      Brooklyn, NY 11210-3954


      ADT LLC
      PO Box 219044
      Kansas City, MO       64121-9044


      AGILANT SOLUTIONS, INC.
      3 Seaview Blvd
      Port Washington, NY 11050-4610


      ALANOD
      4107 162nd St
      Flushing, NY 11358-4124


      ALDER OPTOMECHANICAL
      NO. 171 TIANJIN STREET PINGZHEN CITY,


      ALESCO
      PO Box 1285
      Statesboro, GA       30459-1285


      ALL FABRICATIONS INC
      3407 N 6th St
      Harrisburg, PA 17110-1419
19-22576-rdd   Doc 1   Filed 03/06/19    Entered 03/06/19 17:34:43   Main Document
                                        Pg 3 of 53




      ALL WORLD MACHINERY SPLY.
      6164 All World Way
      Roscoe, IL 61073-7738


      ALLIED ADMINISTRATORS
      FOR DELTA DENTAL OF PA
      PO Box 45381
      San Francisco, CA 94145-0381


      ALLSTATES WORLD CARGO INC
      1 Pelican Dr Ste 1
      Bayville, NJ 08721-1600


      ALMECO USA
      1610 Spectrum Dr
      Lawrenceville, GA        30043-5742


      ALP LIGHTING COMPONENTS
      6333 W Gross Point Rd
      Niles, IL 60714-3915


      ALSTON & BIRD LLP
      1 Atlantic Ctr # 1201W
      Atlanta, GA 30309-3449


      Amato and Keating, P.C.
      107 N Commerce Way
      Bethlehem, PA 18017-8913
19-22576-rdd   Doc 1   Filed 03/06/19    Entered 03/06/19 17:34:43   Main Document
                                        Pg 4 of 53




      AMERICAN EXPRESS
      PO Box 1270
      Newark, NJ 07101-1270


      AMERIGAS
      80 N Main St
      Windsor, NJ 08561-3209


      ANDY'S EXPRESS CO.INC.
      85 Rogers St
      Quincy, MA 02169-1526


      ARBOR MATERIAL HANDLING
      2465 Maryland Rd
      Willow Grove, PA 19090-1710


      ARCBEST
      4000 Richmond St
      Phila, PA 19137-1405


      ARIA WORKHEALTH
      PO BOX 8500-6160
      Philadelphia, PA       19019-6160


      ARROW ELECTRONICS INC
      355 Business Center Dr
      Horsham, PA 19044-3414
19-22576-rdd   Doc 1   Filed 03/06/19    Entered 03/06/19 17:34:43   Main Document
                                        Pg 5 of 53




      ASSOCIATED PRODUCT CO INC
      147 Neil St
      Memphis, TN 38112-4501


      AT&T
      PO Box 105414
      Atlanta, GA 30348-5414


      AUTOMATED CONTROLS AND
      ELECTRICAL SUPPLY LLC
      1693 Williamsburg Pike
      Richmond, IN 47374-1460


      AVERITT EXPRESS INC
      PO Box 102197
      Atlanta, GA 30368-2197


      BAYOU CITY DELIVERY SERV
      PO Box 3280
      Pearland, TX 77588-3280


      BDO
      1700 Market St Fl 29
      Phila, PA 19103-3929


      BDS - PHILADELPHIA
      BEARING & DRIVE SOLUTIONS
      1324 Frankford Ave # 28
      Philadelphia, PA 19125-3204
19-22576-rdd   Doc 1   Filed 03/06/19    Entered 03/06/19 17:34:43   Main Document
                                        Pg 6 of 53




      BELL & MCCOY LTG. AND
      CONTROLS OF LOUISIANA LLC
      3527 Ridgelake Dr
      Metairie, LA 70002-3614


      BERESKIN & PARR LLP
      6750 CENTURY AVENUE SUITE 101 CANADA L5N


      BEST LIGHTING PRODUCTS
      1213 Etna Pkwy
      Pataskala, OH 43062-8041


      BJB ELECTRIC L.P.
      PO Box 968
      Ringgold, GA 30736-0968


      BOARDMAN MOLDED PLASTICS
      PO Box 1858
      Youngstown, OH 44501-1858


      BOETTCHER SUPPLY INC.
      118 W Court St
      Beloit, KS 67420-3132


      BRAD ORENSTEIN
      THE GOURMET VENDOR
      70 Florence Dr
      Richboro, PA 18954-1446
19-22576-rdd   Doc 1   Filed 03/06/19    Entered 03/06/19 17:34:43   Main Document
                                        Pg 7 of 53




      Brown and Joseph
      1 Pierce Pl Ste 1225W
      Itasca, IL 60143-1218


      CAIRONE CONSTRUCTION CO
      1236 Imperial Rd
      Jenkintown, PA 19046-1810


      CAMDEN YARDS STEEL CO
      2500 BROADWAY BLDG
      East Camden, NJ 08105


      Capstone Credit LLC
      810 7th Ave Fl 27
      New York, NY 10019-5818


      CASCADE LIGHTING
      128 NE 7th Ave
      Portland, OR 97232-2908


      CATHERINE MCCALISTER
      960 E Godfrey Ave
      Philadelphia, PA 19124-1745


      CATOCTIN LIGHTING SERVICE
      PO Box 402
      Thurmont, MD 21788-0402
19-22576-rdd   Doc 1   Filed 03/06/19    Entered 03/06/19 17:34:43   Main Document
                                        Pg 8 of 53




      CERIDIAN EMPLOYER SERVICE
      PO Box 10989
      Newark, NJ 07193-0989


      CERTIFIED LTG SOLUTIONS
      3135 State Road 580 Ste 7
      Safety Harbor, FL 34695-4917


      CHUBB
      PO BOX 382001
      Pittsburgh, PA       15251-8001


      CINCINNATI INCORPORATED
      PO BOX 11111
      Cincinnati, OH 45211-6124


      CITY OF PHILA
      DEPT OF REV
      PO Box 1049
      Phila, PA 19105-1049


      CITY OF PHILA
      PO Box 8409
      Phila, PA 19101-8409


      CITY OF PHILADELPHIA
       OFC
      Philadelphia, PA 19123-2991
19-22576-rdd   Doc 1   Filed 03/06/19    Entered 03/06/19 17:34:43   Main Document
                                        Pg 9 of 53




      CITY OF PHILADELPHIA
      WATER REVENUE BUREAU PO
      PO Box 41496
      Phila, PA 19101-1496


      COGENCY GLOBAL INC.
      10 E 40th St Fl 10
      New York, NY 10016-0201


      COMCAST
      PO Box 70219
      Philadelphia, PA       19176-0219


      COMCAST
      PO Box 3001
      Southeastern, PA       19398-3001


      Complete Business Solutions Group
      23 N 3rd St
      Philadelphia, PA 19106-4507


      CONCORD TECHNOLOGIES
      PO Box 864
      Seattle, WA 98111-0864


      CONSOLIDATED PRODUCTS
      210 New Rd
      Linwood, NJ 08221-1371
19-22576-rdd   Doc 1   Filed 03/06/19    Entered 03/06/19 17:34:43   Main Document
                                        Pg 10 of 53




      CONTEMPORARY LTG SALES
      6913 NW 52nd St
      Miami, FL 33166-4844


      COOPER BUSSMAN LLC
      PO Box 640837
      Pittsburgh, PA 15264-0837


      CROFTON WOOD PRODUCTS INC
      PO Box 635
      Elkton, KY 42220-0635


      CSA AMERICA TESTING & Certification LLC
      311 S Wacker Dr
      Chicago, IL 60606-6627


      CURTIS H STOUT INC.
      2400 Cantrell Rd Ste 100
      Little Rock, AR 72202-2133


      CUSTOM CREATIONS LLC
      103 American Way
      Voorhees, NJ 08043-1112


      DAVID COYNE
      837 Bryn Mawr Ave
      Newtown Square, PA        19073-4334
19-22576-rdd   Doc 1   Filed 03/06/19    Entered 03/06/19 17:34:43   Main Document
                                        Pg 11 of 53




      DAYLIGHT TRANSPORT INC
      PO Box 93155
      Long Beach, CA 90809-3155


      De Lage Landen Financial Services, Inc.
      1111 Old Eagle School Rd
      Wayne, PA 19087-1453


      DHL EXPRESS - USA
      16416 Northchase Dr
      Houston, TX 77060-3309


      DIGI KEY CORPORATION
      701 BROOKS AVE SOUTH THIEF RIV
      Thief River Falls, MN 56701-0677


      DIGITAL IMAGING GROUP INC
      353 New Rd
      Southampton, PA 18966-3600


      DISTRICT LIGHTING GROUP
      231 Najoles Rd Ste 265
      Millersville, MD 21108-2659


      DIVERSIFIED LTG ASSOC
      825 Mearns Rd
      Warminster, PA 18974-2809
19-22576-rdd   Doc 1   Filed 03/06/19    Entered 03/06/19 17:34:43   Main Document
                                        Pg 12 of 53




      DM TECHNOLOGY
      4615 State St
      Montclair, CA      91763-6130


      DONALD RYAN
      512 Liberty Ave
      Jersey City, NJ       07307-4022


      DOWN RIVER DELIVERY INC
      29463 Sibley Rd
      Romulus, MI 48174-9234


      EAGLE FENCE COMPANY
      2073 Bennett Rd
      Philadelphia, PA 19116-3019


      EAGLE SALES
      5100 Raleigh Lagrange Rd
      Memphis, TN 38134-5214


      EAGLERISE E & E INC
      320 Constance Dr Ste 1
      Warminster, PA 18974-2877


      EASTERN LIFT TRUCK CO
      RR 73
      Maple Shade, NJ 08052
19-22576-rdd   Doc 1   Filed 03/06/19    Entered 03/06/19 17:34:43   Main Document
                                        Pg 13 of 53




      EATON CORPORATION
      8609 Six Forks Rd
      Raleigh, NC 27615-2966


      ELECTRA PRODUCTS INC.
      1705 Midwest Blvd
      Indianapolis, IN 46214-2378


      ELECTRICAL MATERIALS INC
      44262 Phoenix Dr
      Sterling Heights, MI 48314-1465


      ELECTRICAL PRODUCTS CO
      12799 Q St
      Omaha, NE 68137-3211


      ELLIOTT-LEWIS CORP.
      2900 Black Lake Pl
      Philadelphia, PA 19154-1018


      EMERALD BUSINESS SUPPLIES
      4807 Ashburner St
      Philadelphia, PA 19136-2901


      EMERGENCY RESPONSE ASSOCS
      PO Box 4970
      Phila, PA 19119-0070
19-22576-rdd   Doc 1   Filed 03/06/19    Entered 03/06/19 17:34:43   Main Document
                                        Pg 14 of 53




      EMPIRE ELECTRIC SALES INC
      8581 23rd Ave
      Sacramento, CA 95826-4901


      ENV SERVICES INC
      2880 Bergey Rd Ste K
      Hatfield, PA 19440-1764


      EPIC PHYSICIANS LLC
      8021 Frankford Ave
      Philadelphia, PA 19136-2736


      EXPLORER ELECTRIC
      Freehold, NJ 07728


      FACTOR TRUCK SERVICE, INC
      2607 Old Rodgers Rd
      Bristol, PA 19007-1736


      FASTENAL COMPANY
      PO Box 1286
      Winona, MN 55987-7286


      FEDERAL EXPRESS CORP
      PO BOX 1140
      Memphis, TN 37501
19-22576-rdd   Doc 1   Filed 03/06/19    Entered 03/06/19 17:34:43   Main Document
                                        Pg 15 of 53




      FEDEX FREIGHT
      PO BOX 223125
      Pittsburgh, PA       15251-2125


      FIRST LIGHTING & ELECTRIC
      5F NO 81 SECTION 1 KANG-FU RD, SAN CHUNG


      FISHER UNITECH LLC
      1150 Stephenson Hwy
      Troy, MI 48083-1187


      FOAM FABRICATORS INC
      135 S La Salle St Dept 2790
      Chicago, IL 60674-1235


      FORD CREDIT
      CUSTOMER SERVICE CENTER
      PO Box 542000
      Omaha, NE 68154-8000


      Ford Motor Credit Company
      1 American Rd Ste 1026
      Dearborn, MI 48126-2701


      FROST ELECTRIC SUPPLY
      2429 Schuetz Rd
      Maryland Heights, MO 63043-3314
19-22576-rdd   Doc 1   Filed 03/06/19    Entered 03/06/19 17:34:43   Main Document
                                        Pg 16 of 53




      FULHAM CO INC.
      12705 S Van Ness Ave
      Hawthorne, CA 90250-3322


      FUSECO
      86 Lackawanna Ave Ste 240
      West Paterson, NJ 07424-3804


      G.C.V. - LLC
      1772 S Burlington Rd
      Bridgeton, NJ 08302-4350


      GARWOOD METAL COMPANY
      PO Box 294
      Garwood, NJ 07027-0294


      GE LIGHTING
      NATIONAL CUSTOMER SERVICE
      4400 Cox Rd
      Glen Allen, VA 23060-3354


      GLENN ASSOCIATES SALES
      PO Box 190307
      Homewood, AL 35219-0307


      GLENN ASSOCIATES SALES
      120 B WEST OXMOOR RD
      Birmingham, AL 35201
19-22576-rdd   Doc 1   Filed 03/06/19    Entered 03/06/19 17:34:43   Main Document
                                        Pg 17 of 53




      GLOBE EXTERMINATING SERV
      PO Box 18099
      Phila, PA 19147-0099


      GLYNN ELECTRIC
      70 INDUSTRIAL RD
      Plymouth, MA 02360


      GOLDSMITH ASSOCIATES, INC
      3 Larwin Rd
      Cherry Hill, NJ 08034-1427


      GORMLEY-FARRINGTON
      339 HAYMAKER RD STE 1103
      Monroeville, PA 15140


      GRAINGER
      Palatine, IL      60038-0001


      GREAT KINGDOM ENTERPRISES
      7TH FL, 59-1 CHUNG KING S. ROAD TAIPEI,


      GREEN MOUNTAIN ELEC SPLY
      356 Rathe Rd
      Colchester, VT 05446-1505
19-22576-rdd   Doc 1   Filed 03/06/19    Entered 03/06/19 17:34:43   Main Document
                                        Pg 18 of 53




      Grren Capital Funding LLC
      116 Nassau St Rm 804
      New York, NY 10038-2481


      GUANGZHOU LEDIA LIGHTING
      AIRPORT HIGH-TECH BASE JINGU SOUTH ROAD


      GUARDIAN PROTECTION
      174 Thorn Hill Rd
      Warrendale, PA 15086-7528


      GXS
      9711 Washingtonian Blvd
      Gaithersburg, MD 20878-7365


      H H FLUORESCENT PARTS INC
      104 Beecher Ave
      Cheltenham, PA 19012-2217


      HALE TRAILER & TRUCK
      RR 73
      Voorhees, NJ 08043


      HARRIS DISTRIBUTING CO
      PO Box 53345
      Cincinnati, OH 45253-0345
19-22576-rdd   Doc 1   Filed 03/06/19    Entered 03/06/19 17:34:43   Main Document
                                        Pg 19 of 53




      HAWKEYE INFORMATION SYSTE
      PO Box 2167
      Fort Collins, CO 80522-2167


      HEADWATERS SC, LP
      BLAYMORE
      1 SUITE 300 1606 CARMODY CT
      Sewickley, PA 15143


      HELP/SYSTEMS LLC
      210 BAKER TECHNOLOGY PLZ
      Minnetonka, MN 55305


      HOMETOWN DISPOSAL
      PO BOX 5113
      Sunbury, PA 17801


      HOWARD INDUSTRIES, INC.
      PO Box 1590
      Laurel, MS 39441-1590


      HYDRAULAX PRODUCTS INC
      5606 Tulip St
      Phila, PA 19124-1627


      HYUNG S YOON
      3544 Chimney Swift Dr
      Huntingdon Valley, PA         19006-3302
19-22576-rdd   Doc 1   Filed 03/06/19    Entered 03/06/19 17:34:43   Main Document
                                        Pg 20 of 53




      IDEAL INDUSTRIES INC
      Sycamore, IL 60178


      IMPACT AGENCY INC
      3501 Croton Ave
      Cleveland, OH 44115-3211


      INFINITY GROUP LTD
      509 Shaughnessy Ave
      Long Lake, MN 55356-9451


      Influx Capital LLC
      32 Court St Ste 205
      Brooklyn, NY 11201-4404


      INGERSOLL RAND CO
      30 McDonald Blvd
      Aston, PA 19014-3202


      INTERNATIONAL PAPER CO
      101 Ford Ave
      Milltown, NJ 08850-1565


      IOTA ENGINEERING LLC
      PO Box 11846
      Tucson, AZ 85734
19-22576-rdd   Doc 1   Filed 03/06/19    Entered 03/06/19 17:34:43   Main Document
                                        Pg 21 of 53




      ITEX CORPORATION
      3326 160th Ave SE Ste 100
      Bellevue, WA 98008-6418


      JAMES WHEATLEY
      1-55 TRACE IND PARK
      Ridgeland, MS 39157


      JJM ASSOCIATES INC.
      549 Southlake Blvd
      Richmond, VA 23236-3042


      JOHANSEN LTG. PRODUCTS
      2302 Parkside Ave
      Irving, TX 75061-9410


      JOHN MOORE & ASSOCIATES
      160 Charter Pl
      La Vergne, TN 37086-4126


      K J ELECTRIC
      1019 Oakmont St
      Philadelphia, PA       19111-2707


      KEATING ENVIRONMENTAL
      MANAGEMENT, INC.
      1 N Bacton Hill Rd
      Frazer, PA 19355-1047
19-22576-rdd   Doc 1   Filed 03/06/19    Entered 03/06/19 17:34:43   Main Document
                                        Pg 22 of 53




      KEYSTONE FIRE PROTECTION
      433 Industrial Dr
      North Wales, PA 19454-4150


      KEYSTONE TECHNOLOGIES,INC
      1390 Welsh Rd
      North Wales, PA 19454-1900


      KOPINITZ COMPANY
      PO Box 10249
      Houston, TX 77206-0249


      L & S LOGISTIC SERVICES
      PO Box 771586
      Orlando, FL 32877-1586


      LEVITON MFG
      201 N Service Rd
      Melville, NY 11747-3138


      LEWIS & OAKES
      6909 Englewood Ave
      Raytown, MO 64133-6121


      LIFESAFE SERVICES LLC
      5971 Powers Ave Ste 8
      Jacksonville, FL 32217-1209
19-22576-rdd   Doc 1   Filed 03/06/19    Entered 03/06/19 17:34:43   Main Document
                                        Pg 23 of 53




      LIGHT BUILD DESIGN INC
      6133 Bristol Pkwy Ste 185
      Culver City, CA 90230-6609


      LIGHTING PRODUCTS
      384 Commercial St # Stteet
      Casselberry, FL 32707-3207


      LIGHTING PRODUCTS CO
      384 Commercial St
      Casselberry, FL 32707-3207


      LINK BURNS MFG CO INC
      253 American Way
      Voorhees, NJ 08043-1114


      LME, INC.
      PO Box 88271
      Chicago, IL 60680-1271


      LOCAL 1158 IBEW
      1149 Bloomfield Ave
      Clifton, NJ 07012-2314


      LOCAL UNION 1158 IBEW
      ROCKWOOD OFFICE PARK
      501 Carr Rd Ste 220
      Wilmington, DE 19809-2866
19-22576-rdd   Doc 1   Filed 03/06/19    Entered 03/06/19 17:34:43   Main Document
                                        Pg 24 of 53




      LOGMEIN USA INC.
      PO Box 50264
      Los Angeles, CA 90074-0264


      LONE STAR LIGHTING INC.
      108 Honey Bee Ln
      San Antonio, TX 78231-1205


      LR MARKETING & SALES
      22 Cokeberry St
      The Woodlands, TX 77380-1885


      LSC DESIGN
      17250 Knoll Trail Dr Apt 203
      Dallas, TX 75248-1130


      LUTRON ELECTRONICS CO,INC
      CUSTOMER
      7200 Suter Rd # 37728
      Coopersburg, PA 18036-1249


      M & M ELECTRICAL SALES
      1221 Badger Rd
      Kaukauna, WI 54130-1194


      MAILFINANCE
      PO Box 45850
      San Francisco, CA        94145-0850
19-22576-rdd   Doc 1   Filed 03/06/19    Entered 03/06/19 17:34:43   Main Document
                                        Pg 25 of 53




      MailFinance Inc.
      478 Wheelers Farms Rd
      Milford, CT 06461-9105


      MARON MARVEL BRADLEY
      ANDERSON & TARDY LLC
      1201 N Market St Ste 900
      Wilmington, DE 19801-1100


      MATE PRECISION TOOLING
      NW 8852
      PO Box 1450
      Minneapolis, MN 55485-1450


      MBA MARKETING INC
      1505 Turring Dr Ste A
      Indian Trail, NC 28079-8475


      MC SIGN COMPANY
      8959 Tyler Blvd
      Mentor, OH 44060-2184


      MCMASTER-CARR
      PO Box 440
      New Brunswick, NJ        08903-0440


      MECHANICAL TRADES INC.
      2424 N 51st St
      Philadelphia, PA 19131-1407
19-22576-rdd   Doc 1   Filed 03/06/19    Entered 03/06/19 17:34:43   Main Document
                                        Pg 26 of 53




      MEDIA TEMPLE, INC.
      PO Box 732842
      Dallas, TX 75373-2842


      MEDPRO DISPOSAL LLC
      3550 MOMENTUM PL
      Chicago, IL 60601-5335


      METAL FINISH LLC
      50 Corporate Ave
      Plainville, CT 06062-1195


      METAL TECH FABRICATOR INC
      PO Box 430
      Coldwater, MS 38618-0430


      METLIFE SBC
      PO Box 804466
      Kansas City, MO       64180-4466


      METRO-TECH SALES
      & CONSULTING INC.
      PO Box 500
      Mahwah, NJ 07430-0500


      METTLER-TOLEDO INC
      1900 Polaris Pkwy
      Columbus, OH 43240-4035
19-22576-rdd   Doc 1   Filed 03/06/19    Entered 03/06/19 17:34:43   Main Document
                                        Pg 27 of 53




      MIDDLESEX COUNTY SHERIFF
      PO BOX 1188L
      New Brunswick, NJ 08901


      MMP Holdings LLC
      171 Old Sachems Head Rd
      Guilford, CT 06437-3136


      MODE TRANSPORTATION LLC
      PO Box 71188
      Chicago, IL 60694-1188


      MORNING START VENDING
      500 Virginia Dr
      Fort Washington, PA 19034-2707


      MOTION INDUSTRIES
      301 Henderson Dr
      Sharon Hill, PA 19079-1034


      MRTC SALES
      13819 87th Ave NE
      Kirkland, WA 98034-1707


      MSC INDUSTRIAL SUPPLY CO.
      20921 Lahser Rd
      Southfield, MI 48033-4432
19-22576-rdd   Doc 1   Filed 03/06/19    Entered 03/06/19 17:34:43   Main Document
                                        Pg 28 of 53




      MURATA MACHINERY USA, INC
      MACHINE TOOLS DIVISION
      2120 INTERSTATE 85 S
      Charlotte, NC 28201-9467


      NACM MIDWEST
      3005 Tollview Dr
      Rolling Meadows, IL        60008-3726


      Neo Lights Holdings, Inc.
      522 Route 9 N Unit 332
      Manalapan, NJ 07726


      NEOFUNDS BY NEOPOST
      PO Box 30193
      Tampa, FL 33630-3193


      NEWARK ELEMENT 14
      500 Office Center Dr
      Fort Washington, PA 19034-3219


      Newtek Small Business Finance, LLC
      1981 Marcus Ave Ste 130
      New Hyde Park, NY 11042-1046


      NSF INTERNATIONAL
      DEPT
      PO Box 771380
      Detroit, MI 48277-1380
19-22576-rdd   Doc 1   Filed 03/06/19    Entered 03/06/19 17:34:43   Main Document
                                        Pg 29 of 53




      O F ZURN COMPANY
      2738 N Broad St
      Phila, PA 19132-2721


      OLD DOMINION FREIGHT LINE
      PO BOX 415202
      Boston, MA 02108


      OLYMPIAD LINE LLC
      173 Route 526
      Allentown, NJ 08501-2017


      OMEGA ENGINEERING, INC.
      1 Omega Dr
      Stamford, CT 06907-2336


      OMNILIFT
      1938 Stout Dr
      Warminster, PA       18974-3867


      ONE POINT LOGISTICS INC.
      PO Box 12490
      Charleston, SC 29422-2490


      ONE SOURCE REFRESHMENT
      1194 Zara Dr
      Pottstown, PA 19464-7805
19-22576-rdd   Doc 1   Filed 03/06/19    Entered 03/06/19 17:34:43   Main Document
                                        Pg 30 of 53




      OSRAM SYLVANIA INC
      PO Box 98218
      Chicago, IL 60693-8218


      PA DEPT OF LABOR & INDUST
      651 BOAS ST BUREAU OF
      HARRISBURG, PA 17121-0750


      PA DEPT OF REVENUE
      PO Box 280403
      Harrisburg, PA 17128-0403


      PACE ELECTRONIC PRODUCTS
      34 Foley Dr
      Sodus, NY 14551-1044


      PACIFIC DIE CAST
      PO Box 369
      Oldsmar, FL 34677-0369


      PARAFLEX INDUSTRIES
      31 Luger Rd
      Denville, NJ 07834-2639


      PB LIGHTING DESIGN AND SA
      17 Bannard St Ste 30
      Freehold, NJ 07728-1686
19-22576-rdd   Doc 1   Filed 03/06/19    Entered 03/06/19 17:34:43   Main Document
                                        Pg 31 of 53




      PEAK ELECTRICAL SALES INC
      7586 W Jewell Ave Ste 305
      Lakewood, CO 80232-6838


      PEAK-RYZEX INC
      10330 Old Columbia Rd
      Columbia, MD 21046-2133


      PECO ENERGY-PAYMENT PROC
      PO BOX 13437
      Phila, PA 19101-0437


      PECO ENERGY-PAYMENT PROC
      PO Box 37632
      Phila, PA 19101-0632


      PENDANT SYSTEMS
      1670 Winchester Rd
      Bensalem, PA 19020-4540


      PENNSYLVANIA WELDING SPLY
      835 Pennsylvania Blvd
      Feasterville Trevose, PA 19053-7813


      PEOPLE SYSTEMS
      PO Box 4816
      Syracuse, NY 13221-4816
19-22576-rdd   Doc 1   Filed 03/06/19    Entered 03/06/19 17:34:43   Main Document
                                        Pg 32 of 53




      PERFECTION CHAIN PRODUCTS
      301 GOODWIN RD
      Vinemont, AL 35179


      PEXCO LLC PHILADELPHIA
      16 Progress Dr
      Morrisville, PA 19067-3702


      PFEIFFER SALES LLC
      1474 S Floyd St
      Louisville, KY 40208-2064


      PHILADELPHIA GAS WORKS
      PO Box 11700
      Newark, NJ 07101-4700


      PHILIPS LIGHTING COMPANY
      200 Franklin Square Dr
      Somerset, NJ 08873-4181


      PHILIPS LIGHTING NORTH
      AMERICA CORP.
      PO BOX 100332
      Rosemont, IL 60018


      PHILIPS LTG. HOLDING B.V.
      LICENSE ADMIN DEPARTMENT BUILDING HTC 5
19-22576-rdd   Doc 1   Filed 03/06/19    Entered 03/06/19 17:34:43   Main Document
                                        Pg 33 of 53




      PITT OHIO LTL
      15 27th St
      Pittsburgh, PA       15222-4729


      PLASKOLITE LLC
      10500 High Point Rd
      Olive Branch, MS 38654-3912


      PNC BANK
      SAFE DEPOSIT DEPT
      PO Box 822402
      Phila, PA 19182-2402


      PORTER PRECISION PRODUCTS
      2734 Banning Rd
      Cincinnati, OH 45239-5504


      Post Road Group
      2 Landmark Sq Ste 207
      Stamford, CT 06901-2410


      PRECISION MULTIPLE CONTR
      33 Greenwood Ave
      Midland Park, NJ 07432-1717


      PREMIER LTG. SOLUTIONS
      144 Sinclair Dr
      Eatonton, GA 31024-7619
19-22576-rdd   Doc 1   Filed 03/06/19    Entered 03/06/19 17:34:43   Main Document
                                        Pg 34 of 53




      PROVIDENT COMMERCIAL
      FINANCE, LLC
      4501 N 6th St
      Philadelphia, PA 19140-1428


      QUALITY CONCEPTS INC
      730 Marne Hwy
      Moorestown, NJ 08057-3122


      QUALITY INDUSTRIAL ELECTR
      8642 W Market St Ste 118
      Greensboro, NC 27409-9440


      R & L CARRIERS
      PO Box 10020
      Port William, OH       45164-2000


      R L R INDUSTRIES INC
      575 Discovery Pl
      Mableton, GA 30126-4667


      RCD TIMBER PRODUCTS, INC.
      1699 Matassino Rd
      New Castle, DE 19720-2086


      REDLINE COURIER EXPRESS
      PO Box 1183
      Cypress, TX 77410-1183
19-22576-rdd   Doc 1   Filed 03/06/19    Entered 03/06/19 17:34:43   Main Document
                                        Pg 35 of 53




      REP TEC INC
      12420 Grey Commercial Rd
      Midland, NC 28107-9400


      RETOOL SOLUTIONS LLC
      ATTN: MIKE FLOOD
      215 Railroad Dr
      Warminster, PA 18974-1446


      RICE ELECTRICAL SALES INC
      1217 Ellis St
      Cincinnati, OH 45223-1842


      RIPON PRINTERS
      656 S Douglas St
      Ripon, WI 54971-9044


      ROBERT F FLOOD SUPPLY
      Ivyland, PA 18974


      ROTUBA EXTRUDERS INC
      1401 S Park Ave
      Linden, NJ 07036-1609


      RUMSEY ELECTRIC
      PO Box 7777
      Philadelphia, PA       19175-0001
19-22576-rdd   Doc 1   Filed 03/06/19    Entered 03/06/19 17:34:43   Main Document
                                        Pg 36 of 53




      RUSS WHELAN JR
      OVERHEAD DOORS
      1375 Adams Rd
      Bensalem, PA 19020-3912


      RUSSO LIGHTING ASSOC. INC
      2116 Merrick Ave Ste 3003
      Merrick, NY 11566-3410


      Ryder System Inc.
      11690 NW 105th St
      Miami, FL 33178-1103


      RYDER TRANSP SERVICES
      PO Box 96723
      Chicago, IL 60693-6723


      S LITE CO LTD
      DONG KENG 3RD IND'L DISTR DONG KENG VILL


      SAIA MOTOR FREIGHT LINE
      PO Box 730532
      Dallas, TX 75373-0532


      Saul Ewing Arnstein & Lehr
      Centre Square
      1500 Market St Fl 38
      Philadelphia, PA 19102-2100
19-22576-rdd   Doc 1   Filed 03/06/19    Entered 03/06/19 17:34:43   Main Document
                                        Pg 37 of 53




      SCHAEFFER MARKETING GROUP
      11041 Lin Valle Dr
      Saint Louis, MO 63123-7214


      SCHNEIDER NATIONAL INC.
      2567 Paysphere Cir
      Chicago, IL 60674-0025


      SCHOOLER & ASSOCIATES INC
      811 Santa Fe St
      Kansas City, MO 64101-1231


      SCIENTIFIC LIGHTING
      PRODUCTS
      PO Box 795126
      Saint Louis, MO 63179-0700


      SCOTT COLLINS
      7786 Hanoverdale Dr
      Harrisburg, PA 17112-9769


      SEMANOFF, ORMSBY, GREENBERG AND TORCHIA
      2617 Huntingdon Pike
      Huntingdon Valley, PA 19006-5109


      SHENZHEN LONG SUN
      OPTOELECTRONICS TECH CO BLOCK A WEIHAO H
19-22576-rdd   Doc 1   Filed 03/06/19    Entered 03/06/19 17:34:43   Main Document
                                        Pg 38 of 53




      SHERWIN-WILLIAMS
      2301 E Venango St
      Philadelphia, PA 19134-4623


      SK & ASSOCIATES
      20 22 CARVER CIR
      Canton, MA 02021


      SOUTHEASTERN FRT LINES
      PO Box 100104
      Columbia, SC 29202-3104


      SOUTHERN RUBBER CO., INC
      2209 Patterson St
      Greensboro, NC 27407-2533


      SPECIALTY FREIGHT SERVICE
      2 Poulson Ave
      Essington, PA 19029-1515


      SPS COMMERCE, INC.
      VB BOX 3
      PO Box 9202
      Minneapolis, MN 55480-9202


      ST.MORITZ SECURITY SERV
      4600 Clairton Blvd
      Pittsburgh, PA 15236-2114
19-22576-rdd   Doc 1   Filed 03/06/19    Entered 03/06/19 17:34:43   Main Document
                                        Pg 39 of 53




      STANDARD DIGITAL IMAGING
      1370 Industrial Blvd
      Southampton, PA 18966-4072


      STANDARD DIGITAL LEASING
      PO Box 41602
      Philadelphia, PA 19101-1602


      STAUFFER MFG CO
      PO Box 45
      Red Hill, PA 18076-0045


      STELLAR SERVICES INC
      DBA STELLAR SALES
      1430 ALONDRA BLVD
      La Mirada, CA 90637


      STERICYCLE ENVIRONMENTAL
      SOLUTIONS
      29338 Network Pl
      Chicago, IL 60673-1293


      STEVE PYLE
      3 Lehm Rd
      Wilmington, DE       19804-1332


      SUNCOAST ELECTRIC
      4296 Hunters Pass
      Spring Hill, FL 34609-0319
19-22576-rdd   Doc 1   Filed 03/06/19    Entered 03/06/19 17:34:43   Main Document
                                        Pg 40 of 53




      SUNPARK ELECTRONICS CORP
      16200 S Figueroa St
      Gardena, CA 90248-2619


      SUPERIOR CUT STEEL
      936 Warfield Ln
      Huntingdon Valley, PA         19006-3323


      SUSANIN,WIDMAN AND BRENNAN
      656 E Swedesford Rd Ste 330
      Wayne, PA 19087-1632


      T.L. ASHFORD & ASSOCS
      626 Buttermilk Pike
      Crescent Springs, KY 41017-1302


      TE CONNECTIVITY CORP.
      PO BOX 3608M
      Harrisburg, PA 17101-3608


      THE GRAHAM COMPANY
      THE GRAHAM BUILDING
      1 Penn Sq E
      Phila, PA 19107-2724


      THE KEENEY PRINTING GRP
      816 W 2nd St
      Lansdale, PA 19446-2132
19-22576-rdd   Doc 1   Filed 03/06/19    Entered 03/06/19 17:34:43   Main Document
                                        Pg 41 of 53




      THE MAINTENANCE TEAM
      4015 Shopton Rd Ste 400
      Charlotte, NC 28217-3025


      THE WHITMORE GROUP LTD.
      370 Old Country Rd Ste 200
      Garden City, NY 11530-1702


      THIRD WAVE MARKETING LLC
      1510 Newtown Pike Ste 140
      Lexington, KY 40511-1255


      THOMAS D ANDERSON
      13913 Caden Glen Dr
      Hudson, FL 34669-5022


      THREADED SCREW PRODUCTS
      PO Box 507
      Thorndale, PA 19372-0507


      TOOMBS COUNTY DEVELOPMENT
      Vidalia, GA 30474


      TRC ELECTRONICS INC.
      4171 Stony Ln
      Doylestown, PA 18902-1160
19-22576-rdd   Doc 1   Filed 03/06/19    Entered 03/06/19 17:34:43   Main Document
                                        Pg 42 of 53




      TRI LITE INC/MARS
      1642 N Besly Ct
      Chicago, IL 60642-1526


      TRI STATE CONTAINER CORP
      1440 Bridgewater Rd
      Bensalem, PA 19020-4431


      TRI-COUNTY ELECT'L SERV.
      266 Back of the Moon Rd
      Brinson, GA 39825-2065


      TRINITY LOGISTICS INC.
      PO Box 62702
      Baltimore, MD 21264-2702


      TRUGREEN CHEM LAWN
      200 Ivyland Rd
      Warminster, PA 18974-2270


      TRUST ENERGY SOLUTIONS
      2 S Bolton St
      Marlborough, MA 01752-2841


      U.S. LOGISTICS
      350 Benigno Blvd
      Bellmawr, NJ 08031-2512
19-22576-rdd   Doc 1   Filed 03/06/19    Entered 03/06/19 17:34:43   Main Document
                                        Pg 43 of 53




      UL GmbH
      75 Remittance Dr Dept 1893
      Chicago, IL 60675-1893


      UL LLC
      75 Remittance Dr Dept 1524
      Chicago, IL 60675-1524


      UL VERIFICATION SERV INC
      75 Remittance Dr Dept 1524
      Chicago, IL 60675-1524


      UNIFIRST
      940 River Rd
      Croydon, PA 19021-7540


      UniFirst Corporation
      68 Jonspin Rd
      Wilmington, MA 01887-1090


      UNIS TRANSPORTATION
      15930 E Valley Blvd
      City of Industry, CA         91744-3930


      UNITED HEALTHCARE
      22703 Network Pl
      Chicago, IL 60673-1227
19-22576-rdd   Doc 1   Filed 03/06/19    Entered 03/06/19 17:34:43   Main Document
                                        Pg 44 of 53




      UNITED HEALTHCARE INS. CO
      22703 Network Pl
      Chicago, IL 60673-1227


      UNITED SALES AGENCY
      6780 Northern Blvd Ste 104
      East Syracuse, NY 13057-8708


      UNIVERSAL LIGHTING TECH.
      26 Century Blvd
      Nashville, TN 37214-3685


      UNIVERSAL LTG. TECHNOLOGY
      26 Century Blvd
      Nashville, TN 37214-3685


      UPS
      PO BOX 7247-0244
      Philadelphia, PA       19170-0001


      UPS FREIGHT
      28013 Network Pl
      Chicago, IL 60673-1280


      US PREMIUM FINANCE
      280 Technology Pkwy Ste 200
      Norcross, GA 30092-2990
19-22576-rdd   Doc 1   Filed 03/06/19    Entered 03/06/19 17:34:43   Main Document
                                        Pg 45 of 53




      USGBF POTOMAC YARD 1 & 2
      C/O CUSHMAN & WAKEFIELD
      2733 Crystal Dr
      Arlington, VA 22202-3584


      USHIO AMERICA, INC.
      6045 Solutions Ctr
      Chicago, IL 60677-6000


      UTILITY METALS
      PO Box 9054
      Louisville, KY       40209-0054


      UVD INC.
      420 W North Ave
      Addison, IL 60101-4912


      VALMONT INDUSTRIES, INC.
      PO Box 91410
      Chicago, IL 60693-1410


      VALMONT LEXINGTON
      PO Box 91410
      Chicago, IL 60693-1410


      VANGUARD SYSTEMS INC
      100 Granite Dr Ste 205
      Media, PA 19063-5134
19-22576-rdd   Doc 1   Filed 03/06/19    Entered 03/06/19 17:34:43   Main Document
                                        Pg 46 of 53




      VENTURE LIGHTING
      PO Box 856349
      Minneapolis, MN 55485-6349


      VERITIV OPERATING CO
      1200 Highland Dr Ste 1B
      Westampton, NJ 08060-5118


      VERIZON
      PO Box 15124
      Albany, NY 12212-5124


      VERIZON WIRELESS
      PO Box 25505
      Lehigh Valley, PA        18002-5505


      VISCOR INC.
      35 OAK STREET TORONTO, ON M9N 1A1 ,


      VOLPE AND KOENIG P.C.
      UNITED PLAZA
      30 S 17th St Ste 1800
      Phila, PA 19103-4005


      VUTEC CORPORATION
      11711 W Sample Rd
      Coral Springs, FL        33065-3155
19-22576-rdd   Doc 1   Filed 03/06/19    Entered 03/06/19 17:34:43   Main Document
                                        Pg 47 of 53




      WAGO CORPORATION
      N120W19129 Freistadt Rd
      Germantown, WI 53022-1703


      WANDA PEREZ
      2132 Scattergood St
      Philadelphia, PA 19124-2012


      WARD TRUCKING LLC
      PO Box 1553
      Altoona, PA 16603-1553


      WATT STOPPER, LEGRAND
      60 Woodlawn St
      West Hartford, CT 06110-2326


      WELLS FARGO FINANCIAL LEA
      PO Box 10306
      Des Moines, IA 50306-0306


      WESTROCK CP LLC
      100 McDonald Blvd
      Aston, PA 19014-3202


      WHEATLEY & ASSOCIATES
      PO BOX 305
      Ridgeland, MS 39158
19-22576-rdd   Doc 1   Filed 03/06/19    Entered 03/06/19 17:34:43   Main Document
                                        Pg 48 of 53




      WILLIAM COX
      11 Ashby St
      Mystic, CT 06355-2423


      WORLD LOGISTICS USA LLC
      173 Route 526
      Allentown, NJ 08501-2017


      XPO LOGISTICS INC.
      PO Box 5160
      Portland, OR 97208-5160


      YARDE METALS
      PO Box 5086
      Limerick, PA      19468-0986


      Yes Capital LLC
      1233 48th St
      Brooklyn, NY 11219-3010


      YOUNGS
      55 E Cherry Ln
      Souderton, PA 18964-1550


      YRC FREIGHT
      10990 Roe Ave
      Overland Park, KS        66211-1213
19-22576-rdd   Doc 1   Filed 03/06/19    Entered 03/06/19 17:34:43   Main Document
                                        Pg 49 of 53




      ZHEJIANG HENGDIAN TOSPO
      3/F WORLD TRADE PLAZA WORLD TRADE CTR ZH
              19-22576-rdd            Doc 1       Filed 03/06/19         Entered 03/06/19 17:34:43                     Main Document
                                                                        Pg 50 of 53
Fill in this information to identify your case:

United States Bankruptcy Court for the:

SOUTHERN DISTRICT OF NEW YORK, WHITE PLAINS DIVISION

Case number (if known)                                                     Chapter      11
                                                                                                                            Check if this an amended
                                                                                                                             filing




Official Form 201
Voluntary Petition for Non-Individuals Filing for Bankruptcy                                                                                             4/16
If more space is needed, attach a separate sheet to this form. On the top of any additional pages, write the debtor's name and case number (if known). For
more information, a separate document, Instructions for Bankruptcy Forms for Non-Individuals, is available.


1.   Debtor's name                SIMKAR LLC

2.   All other names debtor
     used in the last 8 years
     Include any assumed
     names, trade names and
     doing business as names

3.   Debtor's federal Employer
     Identification Number     XX-XXXXXXX
     (EIN)


4.   Debtor's address             Principal place of business                                    Mailing address, if different from principal place of
                                                                                                 business

                                  560 White Plains Rd
                                  Tarrytown, NY 10591-5113
                                  Number, Street, City, State & ZIP Code                         P.O. Box, Number, Street, City, State & ZIP Code

                                  Westchester                                                    Location of principal assets, if different from principal
                                  County                                                         place of business

                                                                                                 700 Ramona Ave Philadelphia, PA 19120-4600
                                                                                                 Number, Street, City, State & ZIP Code


5.   Debtor's website (URL)       www.simkar.com


6.   Type of debtor                Corporation (including Limited Liability Company (LLC) and Limited Liability Partnership (LLP))
                                     Partnership (excluding LLP)
                                     Other. Specify:




Official Form 201                           Voluntary Petition for Non-Individuals Filing for Bankruptcy                                             page 1
              19-22576-rdd              Doc 1          Filed 03/06/19         Entered 03/06/19 17:34:43 Main Document
Debtor
                                                                             Pg 51 of 53   Case number ( if known )
          SIMKAR LLC
          Name


7.   Describe debtor's business        A. Check one:
                                          Health Care Business (as defined in 11 U.S.C. § 101(27A))
                                          Single Asset Real Estate (as defined in 11 U.S.C. § 101(51B))
                                          Railroad (as defined in 11 U.S.C. § 101(44))
                                          Stockbroker (as defined in 11 U.S.C. § 101(53A))
                                          Commodity Broker (as defined in 11 U.S.C. § 101(6))
                                          Clearing Bank (as defined in 11 U.S.C. § 781(3))

                                        None of the above
                                       B. Check all that apply
                                        Tax-exempt entity (as described in 26 U.S.C. §501)
                                        Investment company, including hedge fund or pooled investment vehicle (as defined in 15 U.S.C. §80a-3)
                                        Investment advisor (as defined in 15 U.S.C. §80b-2(a)(11))

                                       C. NAICS (North American Industry Classification System) 4-digit code that best describes debtor.
                                          See http://www.uscourts.gov/four-digit-national-association-naics-codes.
                                                337000

8.   Under which chapter of the        Check one:
     Bankruptcy Code is the
     debtor filing?
                                          Chapter 7
                                          Chapter 9

                                        Chapter 11. Check all that apply:
                                                                Debtor's aggregate noncontingent liquidated debts (excluding debts owed to insiders or affiliates) are
                                                                 less than $2,566,050 (amount subject to adjustment on 4/01/19 and every 3 years after that).
                                                                The debtor is a small business debtor as defined in 11 U.S.C. § 101(51D). If the debtor is a small
                                                                 business debtor, attach the most recent balance sheet, statement of operations, cash-flow statement,
                                                                 and federal income tax return or if all of these documents do not exist, follow the procedure in 11
                                                                 U.S.C. § 1116(1)(B).
                                                                A plan is being filed with this petition.
                                                                Acceptances of the plan were solicited prepetition from one or more classes of creditors, in
                                                                 accordance with 11 U.S.C. § 1126(b).
                                                                The debtor is required to file periodic reports (for example, 10K and 10Q) with the Securities and
                                                                 Exchange Commission according to § 13 or 15(d) of the Securities Exchange Act of 1934. File the
                                                                 attachment to Voluntary Petition for Non-Individuals Filing for Bankruptcy under Chapter 11 (Official
                                                                 Form 201A) with this form.
                                                                The debtor is a shell company as defined in the Securities Exchange Act of 1934 Rule 12b-2.
                                          Chapter 12



9.   Were prior bankruptcy
     cases filed by or against the
                                       No.
     debtor within the last 8           Yes.
     years?
     If more than 2 cases, attach a
     separate list.                             District                                  When                            Case number
                                                District                                  When                            Case number

10. Are any bankruptcy cases
    pending or being filed by a
                                       No
    business partner or an              Yes.
    affiliate of the debtor?
     List all cases. If more than 1,
     attach a separate list                     Debtor                                                                   Relationship
                                                District                                  When                           Case number, if known




Official Form 201                             Voluntary Petition for Non-Individuals Filing for Bankruptcy                                                      page 2
             19-22576-rdd           Doc 1         Filed 03/06/19            Entered 03/06/19 17:34:43 Main Document
Debtor
                                                                           Pg 52 of 53   Case number ( if known )
         SIMKAR LLC
         Name


11. Why is the case filed in    Check all that apply:
    this district?
                                     Debtor has had its domicile, principal place of business, or principal assets in this district for 180 days immediately
                                      preceding the date of this petition or for a longer part of such 180 days than in any other district.
                                     A bankruptcy case concerning debtor's affiliate, general partner, or partnership is pending in this district.


12. Does the debtor own or
    have possession of any
                                No
                                           Answer below for each property that needs immediate attention. Attach additional sheets if needed.
    real property or personal    Yes.
    property that needs
    immediate attention?                   Why does the property need immediate attention? (Check all that apply.)
                                            It poses or is alleged to pose a threat of imminent and identifiable hazard to public health or safety.
                                              What is the hazard?
                                            It needs to be physically secured or protected from the weather.
                                            It includes perishable goods or assets that could quickly deteriorate or lose value without attention (for example,
                                              livestock, seasonal goods, meat, dairy, produce, or securities-related assets or other options).
                                            Other
                                           Where is the property?
                                                                             Number, Street, City, State & ZIP Code
                                           Is the property insured?
                                            No
                                            Yes.       Insurance agency
                                                        Contact name
                                                        Phone



         Statistical and administrative information

13. Debtor's estimation of      .        Check one:
    available funds
                                         Funds will be available for distribution to unsecured creditors.
                                          After any administrative expenses are paid, no funds will be available to unsecured creditors.

14. Estimated number of          1-49                                            1,000-5,000                                25,001-50,000
    creditors                    50-99                                           5001-10,000                                50,001-100,000
                                 100-199                                         10,001-25,000                              More than100,000
                                200-999

15. Estimated Assets             $0 - $50,000                                    $1,000,001 - $10 million                   $500,000,001 - $1 billion
                                 $50,001 - $100,000                             $10,000,001 - $50  million                  $1,000,000,001 - $10 billion
                                 $100,001 - $500,000                             $50,000,001 - $100 million                 $10,000,000,001 - $50 billion
                                 $500,001 - $1 million                           $100,000,001 - $500 million                More than $50 billion

16. Estimated liabilities        $0 - $50,000                                    $1,000,001 - $10 million                   $500,000,001 - $1 billion
                                 $50,001 - $100,000                             $10,000,001 - $50      million              $1,000,000,001 - $10 billion
                                 $100,001 - $500,000                             $50,000,001 - $100 million                 $10,000,000,001 - $50 billion
                                 $500,001 - $1 million                           $100,000,001 - $500 million                More than $50 billion




Official Form 201                          Voluntary Petition for Non-Individuals Filing for Bankruptcy                                                    page 3
             19-22576-rdd             Doc 1         Filed 03/06/19           Entered 03/06/19 17:34:43 Main Document
Debtor
                                                                            Pg 53 of 53   Case number ( if known )
          SIMKAR LLC
          Name



          Request for Relief, Declaration, and Signatures

WARNING -- Bankruptcy fraud is a serious crime. Making a false statement in connection with a bankruptcy case can result in fines up to $500,000 or imprisonment
           for up to 20 years, or both. 18 U.S.C. §§ 152, 1341, 1519, and 3571.

17. Declaration and signature
    of authorized                 The debtor requests relief in accordance with the chapter of title 11, United States Code, specified in this petition.
    representative of debtor
                                  I have been authorized to file this petition on behalf of the debtor.

                                  I have examined the information in this petition and have a reasonable belief that the information is trued and correct.

                                  I declare under penalty of perjury that the foregoing is true and correct.

                                  Executed on       March 6, 2019
                                                    MM / DD / YYYY

                                  /s/ NEO LIGHTS HOLDINGS INC. by:Alfred                                       NEO LIGHTS HOLDINGS INC. by:Alfred
                              X   Heyer                                                                        Heyer
                                  Signature of authorized representative of debtor                             Printed name

                                  Title   President of Managing Member




18. Signature of attorney     X   /s/ H Bruce Bronson                                                           Date March 6, 2019
                                  Signature of attorney for debtor                                                   MM / DD / YYYY

                                  H Bruce Bronson
                                  Printed name

                                  Bronson Law Office, P.C.
                                  Firm name


                                  480 Mamaroneck Ave
                                  Harrison, NY 10528-1621
                                  Number, Street, City, State & ZIP Code


                                  Contact phone      (877) 385-7793                  Email address        hbbronson@bronsonlaw.net

                                  1679380
                                  Bar number and State




Official Form 201                           Voluntary Petition for Non-Individuals Filing for Bankruptcy                                                     page 4
